                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    LG ELECTRONICS INC. AND
    LG ELECTRONICS ALABAMA, INC.,

                  Plaintiffs,                                Case No. 1:21-cv-2600

           v.                                                Judge: Mary M. Rowland

    THE PARTNERSHIPS AND                                     Magistrate Judge: Heather K. McShain
    UNINCORPORATED ASSOCIATIONS
    IDENTIFIED IN SCHEDULE A,

                  Defendants.


                        PRELIMINARY INJUNCTION ORDER

          THIS CAUSE being before the Court on Plaintiffs LG Electronics Inc. and LG Electronics

Alabama, Inc. (“Plaintiffs”) Motion for Entry of a Preliminary Injunction, and this Court having

heard the evidence before it hereby GRANTS Plaintiff’s Motion for Entry of a Preliminary

Injunction in its entirety against the Defendants identified on Schedule A 1 to the Complaint

(collectively, the “Defendants”).

          THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

the Defendants directly target their infringing activities towards consumers in the State of Illinois by

offering shipping to the United States, including this District, accepting payment in U.S. dollars, and

distributing, promoting use of, marketing, selling, and/or offering for sale the products identified in

Schedule A to Illinois residents, including in this District. Specifically, the Defendants are

committing tortious infringing acts in Illinois, engaging in interstate commerce to transact business

in Illinois, and in fact, has caused Plaintiffs substantial injury in the State of Illinois by marketing,



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    Attached to this Order.

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selling, and delivering products that infringe U.S. Patent No. 10,653,984 (“the ’984 Patent”) in the

Northern District of Illinois.

  Patent Number                                  Claim                            Issue Date
US 10,653,984 B2       1. A filter assembly, comprising:                        May 19, 2020
                       a filter member;
                       a housing body having an accommodating space formed
                       therein to accommodate at least a portion of the
                       filter member;
                       a housing cap coupled to an upper portion of the housing
                       body, the housing cap comprising an upper side and
                       a lower side,
                       wherein a diameter of the upper side is smaller than a
                       diameter of the lower side, and a channel formed through
                       the upper side and the lower side;
                       a coupling projection projecting outwardly from an outer
                       surface of the housing cap;
                       an upper supporter accommodated in the channel, the
                       upper supporter having a first filter inlet flow path to
                       allow water to flow into the filter member; and
                       a first connecting portion recessed inwardly from an
                       inner circumferential surface of an upper end of the
                       upper supporter, and
                       a pair of projecting portions disposed symmetrically and
                       extending from the first connecting portion.



       THIS COURT FURTHER FINDS that injunctive relief previously granted in the Temporary

Restraining Order (“TRO”) should remain in place through the pendency of this litigation and that

issuing this Preliminary Injunction is warranted under Federal Rule of Civil Procedure 65. Evidence

submitted in support of this Motion and in support of Plaintiffs’ previously granted Motion for Entry

of a Temporary Restraining Order establishes that LG Electronics Inc. and LG Electronics Alabama,

Inc. have demonstrated a likelihood of success on the merits; that no remedy at law exists; and that

Plaintiffs will suffer irreparable harm if the injunction is not granted. Specifically, Plaintiffs have

proved that LG Electronics Inc. and LG Electronics Alabama, Inc. are the lawful assignees of all

right, title and interest in and to the `984 patent and that the Defendants make, use, offer for sale,


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sell, and/or import into the United States for subsequent sale or use products that infringe directly

and/or indirectly at least claim one of the `984 patent. Furthermore, Defendants’ continued and

unauthorized use of the `984 patent irreparably harms Plaintiffs through loss of customers’ goodwill,

reputational harm, and Plaintiffs’ ability to exploit the `984 patent. Monetary damages fail to

address such damage and, therefore, Plaintiffs have an inadequate remedy at law. Moreover, the

public interest is served by entry of this Preliminary Injunction to protect the public from possible

health issues and injuries associated with using low quality water filters created by Defendants’

actions. As such, this Court orders that:

   1. Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

       and all persons acting for, with, by, through, under or in active concert with them be

       preliminarily enjoined and restrained from:

           a. making, using, offering for sale, selling, and/or importing into the United States for

               subsequent sale or use any of the products identified in Schedule A, or mere

               colorable variations thereof (the “Accused Products”) not authorized by Plaintiffs;

           b. further infringing upon any claim of the ’984 Patent or aiding, abetting, inducing,

               contributing to, or assisting anyone in infringing upon any claim of the ’984 Patent;

           c. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

               distributing, returning, or otherwise disposing of, in any manner, the Accused

               Products or mere colorable variations thereof; and,

           d. effecting assignments or transfers, forming new entities or associations, or utilizing

               any other device with the effect of circumventing or otherwise avoiding the

               prohibitions set forth in items (a) through (c) of this paragraph.




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2. Amazon.com shall within three (3) business days of receipt of this Order, disable and cease

   displaying any advertisements or seller listing pages used by or associated with Defendants

   in connection with the sale of the Accused Products or mere colorable variations thereof.

3. Amazon.com shall within three (3) business days of receipt of this Order or prior to

   expiration of this Order, whichever date shall occur first, make Defendants’ Seller ID(s)

   untransferable until further ordered by this Court.

4. Amazon.com shall within five (5) business days after receipt of such notice, provide to

   Plaintiffs expedited discovery relevant to the Accused Products, including copies of

   documents and records in such person’s or entity’s possession or control sufficient to

   determine:

           a. the identities and locations of Defendants, their agents, servants, employees,

                confederates, attorneys, and any persons acting in concert or participation with

                them, including all known contact information (including e-mail addresses);

           b. the nature of Defendants’ operations and all associated sales and financial

                information on Amazon.com, including, without limitation, identifying

                information associated with Defendants’ financial accounts on Amazon.com,

                including Defendants’ sales and listing history related to their respective

                marketplace storefronts on Amazon.com;

           c. any financial accounts owned or controlled by Defendants, including their agents,

                servants, employees, confederates, attorneys, and any persons acting in concert or

                participation with them, including such accounts residing with or under the

                control of any banks, savings and loan associations, payment processors, or other

                financial institutions, including, without limitation, PayPal or other merchant




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              account providers, payment providers, third party processors, and credit card

              associations (including MasterCard and VISA).

5. Any financial service providers for any Defendant shall, within two (2) business days of

   receipt of this Order:

           a. locate all accounts and funds connected to and related to Defendants and the

              Defendants’ Amazon marketplace storefronts related to the Accused Products

              including, but not limited to, any PayPal accounts connected to or related to

              Defendants; and

           b. restrain and enjoin any such accounts or funds from transferring or disposing of

              any money or other of Defendants’ assets until further ordered by this Court.

6. Amazon.com and their related companies and affiliates shall, within two (2) business days of

   receiving this Order, identify and restrain all funds attributable to the Accused Products, not

   just ongoing account activity, in or that hereafter are transmitted into the Amazon accounts

   related to Defendants’ Accused Products, as well as all funds in or that are transmitted into

   (i) any other accounts of the same customer(s), (ii) any other accounts that transfer funds into

   the same financial institution account(s) and/or any of the other Amazon accounts subject to

   this Order, and (iii) any other Amazon.com accounts tied to or used by any of Defendants.

   Amazon.com shall further provide Plaintiffs’ counsel with all data that (i) identifies the

   financial account(s) related to the restrained funds and (ii) details the account transactions

   related to all funds transmitted into the financial account(s) that have been restrained. Such

   restraint of the funds and disclosure of related financial institution account information shall

   be made without notice to the account owners until after those accounts have been

   restrained. No funds restrained by this Order shall be transferred or surrendered by




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   Amazon.com for any purpose (other than pursuant to a chargeback made pursuant to

   Amazon.com’s security interest in the funds) without the express authorization of this Court.

7. Any banks, saving and loan associations, payment processors, or other financial institutions

   for Defendants shall within two (2) business days of receiving this Order:

       a. locate all accounts and funds connected to Defendants and attributable to the

           Accused Products; and

       b. restrain and enjoin such accounts from receiving, transferring, or disposing of any

           money or other of Defendants’ assets until further ordered by this Court.

8. Plaintiffs are authorized to issue expedited written discovery, pursuant to the Federal Rules

   of Civil Procedure 33, 34 and 36, related to:

       a. the identities and locations of Defendants, their agents, servants, employees,

           confederates, attorneys, and any persons acting in concert or participation with them,

           including all known contact information, including any and all associated e-mail

           addresses; and

       b. the nature of Defendants’ operations and all associated sales, methods of payment for

           services and financial information, including, without limitation, identifying

           information associated with the Amazon.com and Defendants’ financial accounts, as

           well as providing a full accounting of Defendants’ sales and listing history related to

           Amazon.com.

       c. Plaintiffs are authorized to issue any such expedited discovery requests via e-mail.

       d. Defendants shall respond to any such discovery requests within three (3) business

           days of being served via e-mail.




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9. Plaintiffs may provide notice of these proceedings to Defendant, including service of process

   pursuant to Federal Rules of Civil Procedure 4(f)(3), by sending an e-mail with an

   attachment to any e-mail addresses provided for Defendants by third parties and/or to any e-

   mail addresses provided for Defendants by Amazon.com, and upon Plaintiffs via their

   counsel representing Plaintiffs in the present case. The notice via e-mail and attachment shall

   constitute notice reasonably calculated under all circumstances to apprise Defendants of the

   pendency of the action and afford them the opportunity to present their objections.

10. Any Defendants that are subject to this Order may appear and move to dissolve or modify

   the Order as permitted by and in compliance with the Federal Rules of Civil Procedure and

   Northern District of Illinois Local Rules.



                                                        IT IS SO ORDERED

      DATED: June 15, 2021




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                          SCHEDULE A


     MERCHANT NAME     MERCHANT SELLER ID   ASIN
1.   GLACIERFRESH      A1ARFBW0S0OH83       B07JM9TTTT
                                            B07XY63ZDS
                                            B08Q4691BN

                                            B0776Q45SZ
2.   PUREPLUS          A20NGFRM6WQ2AB       B01MRUOEVP
                                            B07L6BLHJB
                                            B0899VQMTB
                                            B0899TX1T3
                                            B07Q34QCTJ
                                            B087LRLJ8Z


3.                                          B07QFR6J5J
     ICEPURE Store     AMTCKVAG57GUA        B07QHWWYR9
                                            B08G84ZYLN
                                            B07L8GFMSP
                                            B07QHWSX4M
                                            B08M3K4QCP
                                            B08G8P89VR
                                            B08R8XJ7SP
                                            B08R8XBRBJ

4.   WaterdropDirect   A1G97TP4EUQK6R       B07H9LHMR2
                                            B07GFKXW8H
                                            B07GDPSXB3
                                            B07KF1P138
                                            B07GDP8MXD

5.   Pureza Filters    A3BLZ2EJBZ054L       B07XBYN74H
                                            B07GDLC9GB
                                            B07R6ZK56D
                                            B07JX73FVM
                                            B07QGS3BLC

6.   Healthy Home~     A4KR1WA4HS255        B07L5JPHXY
                                            B01M2Y85UQ
                                            B01MDPA2ZF
                                            B08D3GJCS5
                                            B08D2ZDHJ6

7.   Uniwell Filter    A3N9MMB3BM7546       B08FSR49RR

8.   Aqualink          AS6IO93YWV5N3        B08DTX9CWC
                                            B08DTV4BBN


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          MERCHANT NAME         MERCHANT SELLER ID              ASIN
                                                                B08DTPHZ38

    9.    BEST BELVITA          A1T2WIV9YC63KF                  B07R14HT3M

    10.   Express Parts !!!     A3P4P1ONP5B89H                  B07QB6VRJ1
                                                                B07T219XQG
                                                                B07R5PHY3X

    11.   kozero filter         A2PJ07ZJUCGNQ2                  B086MB3HK1
                                                                B086MPY87M

    12.   Water Purity Expert   A2RRTTUD178BVC                  B08C4M6YPT
                                                                B07GXFR1V7
                                                                B08C53RMRG
                                                                B07GYLKR46
                                                                B07FYDT939
                                                                B08BF9RM2H

    13.   ICE water filter      A3CSW47NAJXREI                  B08CCQJZV8

    14.   QuantumHomeProducts AMTKG3LDPMNNV                     B08KSM916F
                                                                B08KSCJF8H
                                                                B08L1B47PT

    15.   LQQy†                 ABWHV937F2JTW                  B08P1R49DS
                                                               B08P1QHG5N
                                                               B08P1R753Y
                                                               B08P1RLLHY
                                                               B08P1RM6N3
                                                               B08P1R9746
                                                               B08NC1J5D6
                                                               B08NCQL1NR

    16.   LYLYMX†               A1NBRRK1IMOJ1O                 B08ZLGXCRF
                                                               B08ZLK6MDD



†
 Goods sold by LQQy and LYLYMX include markings that suggest they are genuine LGE
products. However, closer inspection reveals that they are not.
